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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                      8:13CR314

        vs.
                                                                        ORDER
ANISHA MARTINEZ,

                      Defendant.


        Defendant Anisha Martinez appeared before the court on December 11, 2017 on a
Petition for Warrant or Summons for Offender Under Supervision [223]. The defendant was
represented by Assistant Federal Public Defender Michael J. Hansen, and the United States was
represented by Assistant U.S. Attorney Nancy A. Svoboda. Through her counsel, the defendant
waived her right to a probable cause hearing on the Report pursuant to Fed. R. Crim. P.
32.1(a)(1). The government moved for detention. Through counsel, the defendant declined to
present any evidence on the issue of detention and otherwise waived a detention hearing. Since it
is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear and convincing evidence
that she is not a danger to the community, the court finds the defendant has failed to carry her
burden and that he should be detained pending a dispositional hearing before Chief Judge Smith
Camp.
        I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Chief Judge Smith Camp.
        IT IS ORDERED:
        1.     A final dispositional hearing will be held before Chief Judge Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on February 8, 2018 at 10:30 a.m. Defendant must be present in person.
        2.     The defendant, Anisha Martinez, is committed to the custody of the Attorney
General or his designated representative for confinement in a correctional facility;
        3.     The defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel; and
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       4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.


       Dated this 11th day of December, 2017.

                                                    BY THE COURT:

                                                    s/ Michael D. Nelson
                                                    United States Magistrate Judge




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